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 1
      WILKINSON WALSH + ESKOVITZ LLP           ARNOLD & PORTER KAYE SCHOLER
 2    Brian L. Stekloff (pro hac vice)         Pamela Yates (CA Bar No. 137440)
 3    (bstekloff@wilkinsonwalsh.com)           (Pamela.Yates@arnoldporter.com)
      Rakesh Kilaru (pro hac vice)             777 South Figueroa St., 44th Floor
 4    (rkilaru@wilkinsonwalsh.com)             Los Angeles, CA 90017
      2001 M St. NW, 10th Floor                Tel: (213) 243-4178
 5    Washington, DC 20036                     Fax: (213) 243-4199
      Tel: (202) 847-4030
 6    Fax: (202) 847-4005
 7
      HOLLINGSWORTH LLP                        COVINGTON & BURLING LLP
 8    Eric G. Lasker (pro hac vice)            Michael X. Imbroscio (pro hac vice)
      (elasker@hollingsworthllp.com)           (mimbroscio@cov.com)
 9    1350 I St. NW                            One City Center
      Washington, DC 20005                     850 10th St. NW
10
      Tel: (202) 898-5843                      Washington, DC 20001
11    Fax: (202) 682-1639                      Tel: (202) 662-6000

12
      Attorneys for Defendant
13    MONSANTO COMPANY

14
                                 UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                              )
17    IN RE: ROUNDUP PRODUCTS                 ) MDL No. 2741
      LIABILITY LITIGATION                    )
18                                            ) Case No. 3:16-md-02741-VC
                                              )
19                                            ) MONSANTO COMPANY’S NOTICE OF
                                              ) MOTION AND MOTION IN LIMINE
20    Hardeman v. Monsanto Co., et al.,       ) NO. 5 RE: OTHER LITIGATION,
      3:16-cv-0525-VC                         )
21    Stevick v. Monsanto Co., et al.,        ) OTHER PRODUCTS, AND COMPANY
      3:16-cv-2341-VC                         ) HISTORY
22                                            )
      Gebeyehou v. Monsanto Co., et al.,
23    3:16-cv-5813-VC

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 1    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2    PLEASE TAKE NOTICE THAT in Courtroom 4 of the United States District Court,
 3    Northern District of California, located at 450 Golden Gate Avenue, San Francisco, CA
 4    94102, or as ordered by the Court, Defendant Monsanto Company (“Monsanto”) will and
 5    hereby does move the Court to preclude evidence regarding other litigation, other products,
 6    and company history.
 7

 8    DATED: January 30, 2019
 9                                               Respectfully submitted,
10                                               /s/ Brian L. Stekloff___________
11
                                                 Brian L. Stekloff (pro hac vice)
12                                               (bstekloff@wilkinsonwalsh.com)
                                                 Rakesh Kilaru (pro hac vice)
13                                               (rkilaru@wilkinsonwalsh.com)
                                                 WILKINSON WALSH + ESKOVITZ LLP
14                                               2001 M St. NW, 10th Floor
15                                               Washington, DC 20036
                                                 Tel: (202) 847-4030
16                                               Fax: (202) 847-4005

17                                               Pamela Yates (CA Bar No. 137440)
                                                 (Pamela.Yates@arnoldporter.com)
18                                               ARNOLD & PORTER KAYE SCHOLER
19                                               777 South Figueroa St., 44th Floor
                                                 Los Angeles, CA 90017
20                                               Tel: (213) 243-4178
                                                 Fax: (213) 243-4199
21
                                                 Eric G. Lasker (pro hac vice)
22                                               (elasker@hollingsworthllp.com)
23                                               HOLLINGSWORTH LLP
                                                 1350 I St. NW
24                                               Washington, DC 20005
                                                 Tel: (202) 898-5843
25                                               Fax: (202) 682-1639
26                                               Michael X. Imbroscio (pro hac vice)
27                                               (mimbroscio@cov.com)
                                                 COVINGTON & BURLING LLP
28
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                                           One City Center
 1
                                           850 10th St. NW
 2                                         Washington, DC 20001
                                           Tel: (202) 662-6000
 3
                                           Attorneys for Defendant
 4                                         MONSANTO COMPANY
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2     I.   INTRODUCTION
 3           Defendant Monsanto Company (“Monsanto”) moves in limine to exclude irrelevant
 4    evidence, testimony, or argument related to (1) all prior or other current litigation involving
 5    Monsanto, (2) products other than Roundup, and (3) Bayer’s acquisition of Monsanto.
 6    Monsanto believes this motion largely relates to Phase 2 of the trial, since the focus of Phase 1
 7    is whether Roundup caused Plaintiffs’ Non-Hodgkin Lymphoma, and none of this evidence
 8    remotely bears on that question.
 9    II.   ARGUMENT
10              A. Evidence of Other Litigation Is Irrelevant and Unduly Prejudicial.
11           Monsanto faces over 9,300 lawsuits related to Roundup in the United States, including
12    many under the umbrella of this Court’s Multidistrict Litigation. The fact of these lawsuits lacks
13    relevance as to Roundup’s safety, Monsanto’s liability, and whether Roundup caused Mr.
14    Hardeman’s, Ms. Stevick’s or Mr. Gebeyehou’s NHL. Each plaintiff’s case involves one person
15    alleging a particular amount of exposure and a specific disease. Other lawsuits involve different
16    types, means, and amounts of exposure, with different alleged consequences.
17           Also, the mere mention of prior or other current lawsuits would unfairly prejudice
18    Monsanto. The litigation’s scale would induce a jury to falsely assume that the cases must have
19    some merit, otherwise lawyers would not have brought them or judges would have dismissed
20    them. Indeed, even in Johnson, where the court denied the motion to exclude mention of all
21    other litigation involving Monsanto, the court clarified in a footnote that mentioning the total
22    amount of cases “would plainly create a substantial risk of undue prejudice that outweighs any
23    probative value.” Johnson v. Monsanto, Co., CGC-16-550128, Order Den. Monsanto’s Mot.
24    for Continuance of Trial Date and Re: Mots. in Lim., at 6 (Cal. Super. Ct., April 3, 2018) (Ex.
25    1). Allowing evidence of prior lawsuits and other current lawsuits would also cause undue
26    delay, waste time, and mislead the jury. Monsanto would have to contest these lawsuits’
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 1    allegations, which would drag the jury through lengthy mini-trials instead of directly addressing
 2    Plaintiffs’ claims. The complexity involved in each, from the level of exposure to the different
 3    types of cancer, would likely confuse the jury when they face the only facts that matter to them:
 4    those of each individual plaintiff. Courts commonly hold that evidence of prior litigation is
 5    inadmissible, and this Court should do so as well. See, e.g., Apple iPod iTunes Antitrust Litig.,
 6    No. 05-CV-0037 YGR, 2014 WL 12719192, at *3 (N.D. Cal. Nov. 18, 2014) (“the parties are
 7    prohibited from eliciting evidence or referring to other courts’ decisions, factual findings, or
 8    credibility assessments”); Calloway v. Hayward, No. 108CV01896LJOGSAPC, 2017 WL
 9    363000, at *3 (E.D. Cal. Jan. 24, 2017) (“the Court finds that the probative value of this evidence
10    is substantially outweighed by a danger of unfair prejudice to Defendants.”).
11              B. Evidence of Other Monsanto Products Is Irrelevant and Unduly Prejudicial.
12           Evidence of products other than Roundup and litigation concerning them is equally
13    inadmissible because it is irrelevant, would unfairly prejudice Monsanto, and constitutes
14    improper character evidence.
15           Monsanto anticipates that Plaintiffs might attempt to introduce evidence or argument
16    referencing that Monsanto’s predecessor, “old Monsanto,” manufactured controversial products
17    unrelated to this case. Such products could include poly-chlorinated biphenyls (“PCBs”), which
18    were used in industrial and commercial applications, and Agent Orange, an herbicide the U.S.
19    Government obtained under direction from Monsanto for use during the Vietnam War. As the
20    judge observed in Johnson, Agent Orange was manufactured in the 1960s, which is “too remote
21    in time to be relevant” today. Johnson, CGC-16-550128, Proceedings June 20, 2018, at 156:13–
22    14 (Cal. Super. Ct., June 20, 2018) (Ex. 2). It was also manufactured by old Monsanto, a
23    company that no longer exists after a series of spin-offs and acquisitions. Id. at 156:15–17. More
24    importantly, none of the three plaintiffs were exposed to PCBs or Agent Orange; each used
25    Roundup. And each bases his or her claims only on Roundup. Therefore other Monsanto
26    products are irrelevant. Referencing them, and litigation surrounding them, lacks “any tendency
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 1    to make a fact more or less probable” and is deprived “of consequence in determining the
 2    action.” Fed. R. Evid. 401.
 3           Moreover, reference to other products would also unfairly prejudice Monsanto because
 4    it would attack Monsanto’s reputation as some serial purveyor of unsafe products, thereby
 5    inflaming the jury’s emotion. “Unfair prejudice is an undue tendency to suggest decision on an
 6    improper basis, commonly, though not necessarily, an emotional one.”             United States v.
 7    Haischer, 780 F.3d 1277, 1281 (9th Cir. 2015) (citing United States v. Anderson, 741 F.3d 938,
 8    950 (9th Cir. 2013)) (citations and internal quotation marks omitted). Stigmatized chemicals
 9    such as PCBs and Agent Orange, which triggers memories of the Vietnam War and long-ago
10    actions, would suggest a decision on an improper, emotional basis. Indeed, the Roundup cases
11    have already shown the obvious prejudicial effect that drawing connections to Agent Orange
12    would have over Monsanto. Plaintiff Alberta Pilliod listed Agent Orange among the reasons
13    she suspected Roundup caused her cancer. Pilliod Dep. 112:2–10, Pilliod v. Monsanto Co.,
14    Case No. RG17862702 (Super. Ct. Cal. Dec. 21, 2018) (Ex. 3). Unsurprisingly, the judge in
15    Johnson excluded references to Agent Orange because “all of the subsequent litigation and
16    findings regarding that product, [A]gent [O]range, were so controversial that the prejudice
17    stemming from admitting any evidence regarding agent Monsanto far outweighs any probative
18    value with regard to anything that the current Monsanto is doing in this litigation.” Johnson,
19    CGC-16-550128, Proceedings June 20, 2018, at 156:19–25 (Ex. 2); see also In re Bendectin
20    Litig., 857 F.2d    290, 322 (6th Cir. 1988) (upholding “determination that references to
21    Thalidomide would be extremely prejudicial”); Am. Home Assurance Co. v. Merck & Co., Inc.,
22    462 F. Supp. 2d 435,446 (S.D.N.Y. 2006) (excluding references to Vioxx litigation because “the
23    only possible purpose for offering such evidence would be to generally prejudice the fact finder
24    against Merck through insinuations that it is a careless corporate citizen.”).
25           Finally, referencing other chemicals could constitute reference to other acts, which Rule
26    404(b) forbids. Plaintiffs would be using evidence of a prior act to imply that Monsanto acted
27    in conformity with an alleged character trait—that of manufacturing controversial chemicals.
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                        C. Evidence of Bayer’s History and Acquisition of Monsanto Is
 1
                           Irrelevant and Inadmissible.
 2           Evidence surrounding Bayer’s acquisition of Monsanto, including Bayer’s role in World
 3    War II and news articles referencing its decision-making process, is irrelevant and inadmissible.
 4           Despite Bayer’s positive contributions to society since its founding in 1863, such as
 5    aspirin and antibiotics, Bayer’s history was impacted by the global catastrophe that was World
 6    War II. References to these historical circumstances bear no consequence over the issues at
 7    stake in this case: whether Monsanto is liable for Plaintiffs’ NHL. This case involves a product
 8    developed by Monsanto, a company acquired by Bayer in the twenty-first century. Bayer’s past
 9    is irrelevant. See In re Yasmin & Yaz (Drospirenone) Mktg., Sales Practices & PMF Prod. Liab.
10    Litig., No. 3:09-CV-10012-DRH, 2011 WL 6740391, at *3 (S.D. Ill. Dec. 22, 2011) (“incendiary
11    historical evidence. . . . is likely irrelevant to the substantive issues at bar and the Court has
12    precluded the plaintiff from introducing that evidence in her case in chief except as otherwise
13    provided.”).
14           Even if Bayer’s history had any probative value, which it does not, this value would be
15    substantially outweighed by a danger of causing unfair prejudice. Courts have frequently
16    acknowledged so. See id. (“because of the incendiary nature of the disputed evidence, the Court
17    strongly cautioned the parties and laid out explicit directives as to how the parties must proceed
18    at trial in relation to introducing this evidence for impeachment purposes”); Kennedy v. City of
19    New York, No. 12 Civ. 4166 (KPF), 2016 WL 3460417, at *3 (S.D.N.Y. June 20, 2016) (“line
20    of questioning regarding Nazi Germany is so plainly and egregiously inappropriate that the
21    Court will not address it further.”); Garlick v. Cty. of Kern, No. 1:13-CV-01051-LJO-JLT, 2016
22    WL 1461841, at *5 (E.D. Cal. Apr. 14, 2016) (precluding “any and all testimony or evidence
23    involving any analogies, comparisons, or references to Hitler, Nazis, World War II bunker
24    complexes” under Rule 403 of the Federal Rules of Evidence); Kaplan v. DaimlerChrysler,
25    A.G., 331 F.3d 1251, 1256–57 (11th Cir. 2003) (noting the real risk of plaintiffs’ counsel “subtly
26    if not overtly prey[ing] on juror biases” related to “Nazi-era memories”). The only possible
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 1    reason Plaintiffs would try to introduce such evidence would be to “play[] to a pro-American
 2    sentiment and an anti-foreign mentality,” and to inflame any biases in the jury to return a verdict
 3    against Monsanto. In re Yasmin, 2011 WL 6740391, at *3.
 4           Indeed, some Roundup plaintiffs have already raised Bayer’s role as a German company
 5    and its involvement in World War II, which highlights the very real capacity of this evidence to
 6    unfairly prejudice Defendant. See Pilliod Dep. 111:18–112:10 (testifying that she first became
 7    suspicious of Roundup causing her cancer when finding out about Bayer involvement in WWII:
 8    “I got very suspicious of what this Roundup does and what the owners of Roundup do.”) (Ex. 3).
 9           Monsanto also anticipates that Plaintiffs might reference news articles surrounding
10    Bayer’s acquisition of Monsanto.         Specifically, articles discussing possible legal and
11    reputational dangers associated with Monsanto’s acquisition in light of the Roundup litigation.
12    Again, these are irrelevant and inadmissible. Whatever Bayer considered when it acquired
13    Monsanto is irrelevant to prove the cause of Plaintiffs’ NHL. And even if it were relevant,
14    which it is not, its value would be substantially outweighed by the danger of unfair prejudice.
15    The evidence could mislead the jury to think that any concern executives in Bayer may have
16    shown regarding Roundup indicates guilt. The evidence would also lead to an unnecessary
17    mini-trial regarding the truthfulness of the articles’ content, causing undue delay and unfairly
18    prejudicing Monsanto.
19   III.   CONCLUSION
20           For these reasons, Monsanto respectfully requests that the Court exclude evidence,
21    testimony, or argument regarding other litigation, other products, and Bayer’s company history.
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     MONSANTO’S MOTION IN LIMINE NO. 5 RE: OTHER LITIGATION, OTHER PRODUCTS, AND COMPANY
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 2    DATED: January 30, 2019
 3                                         Respectfully submitted,
 4                                         /s/ Brian L. Stekloff___________
 5
                                           Brian L. Stekloff (pro hac vice)
 6                                         (bstekloff@wilkinsonwalsh.com)
                                           Rakesh Kilaru (pro hac vice)
 7                                         (rkilaru@wilkinsonwalsh.com)
                                           WILKINSON WALSH + ESKOVITZ LLP
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14                                         Tel: (213) 243-4178
                                           Fax: (213) 243-4199
15
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24

25
                                           Attorneys for Defendant
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 1                                  CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 30th day of January 2019, a copy of the foregoing was
 3    served via electronic mail to opposing counsel.
 4

 5                                                 /s/ Brian L. Stekloff___________
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